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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                v.                               :    CRIMINAL NO. 21-cr-399 (RDM)
                                                 :
ROMAN STERLINGOV,                                :
                                                 :
                       Defendant.                :

              GOVERNMENT’S RESPONSE TO DEFENDANT’S NOTICE
             OF AVAILABILITY OF DEFENSE EXPERT JEFF FISCHBACH

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully files this response to the defendant’s Notice of Availability of Defense

Expert Jeff Fischbach, ECF No. 203.

       1.       The government consents to Mr. Fischbach to testifying out-of-order during the

government’s case-in-chief for the October 10, 2023 trial.

       2.       Mr. Fischbach should be available to testify in this case before the October 16, 2023

start date for proceedings in State of Kansas v. Dana Chandler, 2011-CR-001329 (Kan. Dist. Ct.),

as well as during jury selection in that case.

       3.       The government requests that the Court finalize the prospective October 10, 2023

trial date in this case, so that witnesses and experts on both sides can begin planning around the

new dates, and both sides can expeditiously re-issue subpoenas and make travel and logistical

arrangements.
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                            Respectfully submitted,
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                            UNITED STATES ATTORNEY
                            D.C. Bar No. 481052

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